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            EXHIBIT 30
Redacted Version of Document Sought
            to be Sealed
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From:               Timothy Schmidt <timothy.schmidt@accelconsulting.llc>
Sent:               Tuesday, May 17, 2022 11:57 AM
To:                 David Straite; Douglas Brush
Cc:                 Lesley Weaver; Jay Barnes; Sharon Cruz; Adam Prom; Corban Rhodes; Eric Johnson; Angelica Ornelas;
                    An Truong; QE Calhoun
Subject:            Re: Calhoun v. Google



EXTERNAL: Think before you click!
Parties,

Special Master Brush and I have consolidated the information provided recently by the Calhoun Party into a list of items
tagged to each of the A and B attachments received in the source email of this thread.

Special Master Brush has considered each specific request and he orders the following where productions have not yet
been provided to Plaintiffs as spelled out below:

Exhibit A Requests for Searches

           – Plaintiffs request followed by Google response, then Special Master decision
    1.                    – Search for:
            a. Plaintiff and Dr. Shafiq test accounts – Google agrees – Special Master Accepts that this process will be
                 carried out by Google without delay and produce publisher Confidential publisher notification data no
                 later than seven calendar days following the production of non‐publisher confidential data.
            b. Production gaps identified by Plaintiffs – Google does not comment – Special Master orders Google to
                 provide an explanation for production gaps identified by Plaintiffs to be provided no later than COB,
                 May 23, 2022.
    2.                          – Search for:
            a. Plaintiff and Dr. Shafiq test accounts – Google agrees – Special Master Accepts that this process will be
                 carried out by Google without delay and produce publisher Confidential publisher notification data no
                 later than seven calendar days following the production of non‐publisher confidential data.
            b. Production gaps identified by Plaintiffs – Google does not comment – Special Master orders Google to
                 provide an explanation for production gaps identified by Plaintiffs to be provided no later than COB,
                 May 23, 2022.
    2.                          – Search for:
            a. Dr. Shafiq test accounts – Google agrees – Special Master Accepts that this process will be carried out
                 by Google without delay and produce publisher Confidential publisher notification data no later than
                 seven calendar days following the production of non‐publisher confidential data.
            b. Production gaps identified by Plaintiffs – Google does not comment – Special Master orders Google to
                 provide an explanation for production gaps identified by Plaintiffs to be provided no later than COB,
                 May 23, 2022.
    2.                            – Search for:
            a. Dr. Shafiq test accounts – Google agrees – Special Master Accepts that this process will be carried out
                 by Google without delay and produce publisher Confidential publisher notification data no later than
                 seven calendar days following the production of non‐publisher confidential data.
            b. Production gaps identified by Plaintiffs – Google does not comment – Special Master orders Google to
                 provide an explanation for production gaps identified by Plaintiffs to be provided no later than COB,
                 May 23, 2022.
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2.                                            – Search for:
         a.  Dr. Shafiq test accounts – Google agrees – Special Master Accepts that this process will be carried out
             by Google without delay and produce publisher Confidential publisher notification data no later than
             seven calendar days following the production of non‐publisher confidential data.
         b. Production gaps identified by Plaintiffs – Google does not comment – Special Master orders Google to
             provide an explanation for production gaps identified by Plaintiffs to be provided no later than COB,
             May 23, 2022.
2.                                      – Search for:
         a. Dr. Shafiq test accounts – Google agrees – Special Master Accepts that this process will be carried out
             by Google without delay and produce publisher Confidential publisher notification data no later than
             seven calendar days following the production of non‐publisher confidential data.
         b. Production gaps identified by Plaintiffs – Google does not comment – Special Master orders Google to
             provide an explanation for production gaps identified by Plaintiffs to be provided no later than COB,
             May 23, 2022.
2.                – Search for:
         a. Dr. Shafiq test accounts – Google agrees – Special Master Accepts that this process will be carried out
             by Google without delay and produce publisher Confidential publisher notification data no later than
             seven calendar days following the production of non‐publisher confidential data.
         b. Production gaps identified by Plaintiffs – Google does not comment – Special Master orders Google to
             provide an explanation for production gaps identified by Plaintiffs to be provided no later than COB,
             May 23, 2022.
2.        – Search for:
         a. Dr. Shafiq test accounts – Google agrees – Special Master Accepts that this process will be carried out
             by Google without delay and produce publisher Confidential publisher notification data no later than
             seven calendar days following the production of non‐publisher confidential data.
         b. Production gaps identified by Plaintiffs – Google does not comment – Special Master orders Google to
             provide an explanation for production gaps identified by Plaintiffs to be provided no later than COB,
             May 23, 2022.

     – Plaintiffs request followed by Google response, then Special Master decision

1.                              – Search for: Zwieback, Biscotti, and IP+user agent for length of retention – Google
     agrees to GAIA Ids, Zwieback and Biscotti and from Dec. 1, 2021, to present – Special Master accepts GAIA Ids,
     Zwieback and Biscotti for length of retention or beginning of class as noted in the First Amended Complaint
     whichever is more recent. IP address + User Agent is to be brought before the Magistrate Judge
2.                              – Search for: Zwieback, Biscotti, and IP+user agent for length of retention – Google
     agrees to GAIA Ids, Zwieback and Biscotti and from Dec. 1, 2021, to present – Special Master accepts GAIA IDs,
     Zwieback and Biscotti for length of retention or beginning of class as noted in the First Amended Complaint
     whichever is more recent. IP address + User Agent is to be brought before the Magistrate Judge
3.                                   – Search for: Zwieback, Biscotti, and IP+user agent for length of retention –
     Google agrees to GAIA Ids, Zwieback and Biscotti and from Dec. 1, 2021, to present – Special Master accepts
     GAIA Ids, Zwieback and Biscotti for length of retention or beginning of class as noted in the First Amended
     Complaint whichever is more recent. IP address + User Agent is to be brought before the Magistrate Judge
4.                  – Search for: Zwieback, Biscotti, and IP+user agent for length of retention – Google agrees to,
     Zwieback and Biscotti and from Dec. 1, 2021, to present – Special Master accepts Zwieback and Biscotti for
     length of retention or beginning of class as noted in the First Amended Complaint whichever is more
     recent. IP address + User Agent is to be brought before the Magistrate Judge
5.                       – Search for: Zwieback, Biscotti, and IP+user agent for length of retention – Google agrees to,
     Zwieback and Biscotti and from Dec. 1, 2021, to present – Special Master accepts Zwieback and Biscotti for
     length of retention or beginning of class as noted in the First Amended Complaint whichever is more
     recent. IP address + User Agent is to be brought before the Magistrate Judge


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6.                   – Search for: Zwieback, Biscotti, and IP+user agent for length of retention – Google agrees to,
    Zwieback and Biscotti and from Dec. 1, 2021, to present – Special Master accepts Zwieback and Biscotti for
    length of retention or beginning of class as noted in the First Amended Complaint whichever is more
    recent. IP address + User Agent is to be brought before the Magistrate Judge
7.                                    – Search for: Zwieback, Biscotti, and IP+user agent for length of retention –
    Google states that this information has been provided where associated with GAIA IDs provided by Plaintiffs;
    Google agrees to search for GAIA IDs associated with Dr. Shafiq’s test accounts from Dec. 1, 2021, to
    present. – Special Master accepts GAIA IDs, Zwieback and Biscotti for length of retention or beginning of class
    as noted in the First Amended Complaint whichever is more recent for Plaintiffs where not yet provided and
    for Dr. Shafiq’s test accounts. IP address + User Agent is to be brought before the Magistrate Judge
8.                                      – Search for: Zwieback, Biscotti, and IP+user agent for length of retention –
    Google states that this information has been provided where associated with GAIA IDs provided by Plaintiffs;
    Google agrees to search for GAIA IDs associated with Dr. Shafiq’s test accounts from Dec. 1, 2021, to
    present. – Special Master accepts GAIA IDs, Zwieback and Biscotti for length of retention or beginning of class
    as noted in the First Amended Complaint whichever is more recent for Plaintiffs where not yet provided and
    for Dr. Shafiq’s test accounts. IP address + User Agent is to be brought before the Magistrate Judge
9.                                                – Search for: Zwieback, Biscotti, and IP+user agent for length of
    retention – Google states that this information has been provided where associated with GAIA IDs provided by
    Plaintiffs; Google agrees to search for GAIA IDs associated with Dr. Shafiq’s test accounts from Dec. 1, 2021, to
    present. – Special Master accepts GAIA IDs, Zwieback and Biscotti for length of retention or beginning of class
    as noted in the First Amended Complaint whichever is more recent for Plaintiffs where not yet provided and
    for Dr. Shafiq’s test accounts. IP address + User Agent is to be brought before the Magistrate Judge
10.                          – Search for: Zwieback, Biscotti, and IP+user agent – Google agrees to Zwieback and
    Biscotti – Special Master accepts Zwieback and Biscotti for length of retention or beginning of class as noted in
    the First Amended Complaint whichever is more recent. IP address + User Agent is to be brought before the
    Magistrate Judge. Special Master Accepts that this process will be carried out by Google without delay and
    produce publisher Confidential publisher notification data no later than seven calendar days following the
    production of non‐publisher confidential data.
11.                                 – Search for: Zwieback, Biscotti, and IP+user agent – Google agrees to Zwieback
    and Biscotti – Special Master accepts Zwieback and Biscotti for length of retention or beginning of class as
    noted in the First Amended Complaint whichever is more recent. IP address + User Agent is to be brought
    before the Magistrate Judge. Special Master Accepts that this process will be carried out by Google without
    delay and produce publisher Confidential publisher notification data no later than seven calendar days
    following the production of non‐publisher confidential data.
12.                 – Search for: Zwieback, Biscotti, and IP+user agent – Google agrees to Zwieback and Biscotti
    – Special Master accepts Zwieback and Biscotti for length of retention or beginning of class as noted in the
    First Amended Complaint whichever is more recent. IP address + User Agent is to be brought before the
    Magistrate Judge. Special Master Accepts that this process will be carried out by Google without delay and
    produce publisher Confidential publisher notification data no later than seven calendar days following the
    production of non‐publisher confidential data.
13.                             – Search for: Zwieback, Biscotti, and IP+user agent – Google agrees to Zwieback and
    Biscotti – Special Master accepts Zwieback and Biscotti for length of retention or beginning of class as noted in
    the First Amended Complaint whichever is more recent. IP address + User Agent is to be brought before the
    Magistrate Judge. Special Master Accepts that this process will be carried out by Google without delay and
    produce publisher Confidential publisher notification data no later than seven calendar days following the
    production of non‐publisher confidential data.
14.                      – Search for: Zwieback, Biscotti, and IP+user agent – Google agrees to Zwieback and Biscotti
    – Special Master accepts Zwieback and Biscotti for length of retention or beginning of class as noted in the
    First Amended Complaint whichever is more recent. IP address + User Agent is to be brought before the
    Magistrate Judge. Special Master Accepts that this process will be carried out by Google without delay and
    produce publisher Confidential publisher notification data no later than seven calendar days following the
    production of non‐publisher confidential data.

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    15.                                          – Search for: Zwieback, Biscotti, and IP+user agent – Google agrees to
          Zwieback and Biscotti – Special Master accepts Zwieback and Biscotti for length of retention or beginning of
          class as noted in the First Amended Complaint whichever is more recent. IP address + User Agent is to be
          brought before the Magistrate Judge. Special Master Accepts that this process will be carried out by Google
          without delay and produce publisher Confidential publisher notification data no later than seven calendar
          days following the production of non‐publisher confidential data.

          – Plaintiffs request followed by Google response, then Special Master decision

    1.                            – Search for IDs associated with Dr. Shafiq test accounts – Google agrees to search for
        decrypted IDs associated with Dr. Shafiq’s test accounts across this column in GAIA              and Zwieback
        – Special Master accepts that searches for IDs associated with Dr. Shafiq’s test accounts will be searched
        across this column within GAIA               and Zwieback            for the time period beginning when Dr. Shafiq
        first set up test accounts until now.
    2.                         – entries identical to item           1 above.
    3.                            – entries identical to item           1 above.
    4.                 – entries identical to item           1 above.
    5.                    – entries identical to item           1 above.
    6.                                      – entries identical to item          1 above.
    7.                      – entries identical to item          1 above.
    8.                         – entries identical to item           1 above.
    9.                                         – entries identical to item          1 above.
    10.                                   – entries identical to item          1 above.
    11.                          – entries identical to item           1 above.
    12.                                – entries identical to item           1 above.
    13.                       – entries identical to item           1 above.
    14.                           – entries identical to item           1 above.
    15.                           – entries identical to item           1 above.
    16.                              – entries identical to item           1 above.
    17.                                          – entries identical to item          1 above.
    18.                                        – entries identical to item          1 above.
    19.                     – entries identical to item           1 above.

Exhibit B Requests for Searches ‐ Plaintiffs request followed by Google response, then Special Master decision

    1. Final round of searches:                 corpora
           a. Plaintiffs seek confirmation as to whether Google will produce information that exists in certain
               “production gaps” identified in Plaintiffs’ March 30, 2022, Data Gap Chart. If not, Plaintiffs’ request the
               basis for Google’s refusal and a formal ruling from the Special Master on this request – Google has not
               specifically addressed this request – Special Master orders Google to provide the requested
               explanation.
           b. Plaintiffs request clarification as to which corpora Google is omitting from its searches/productions of
                           data – Google has not specifically addressed this request – Special Master orders Google to
               provide the requested explanation.
    2. Final round of searches:              log sources – Plaintiffs’ requests are all addressed within the contents of the
       Exhibit A Requests for Searches above.
    3. Final round of searches:                      and          columns identified in Exhibit A Requests for Searches
       above – Plaintiffs ask that Google reproduce the March 10, 2022, production in “decoded” form – Google has
       not specifically addressed this request – Special Master denies this request.

Thank you,
Tim Schmidt

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Accel Consulting LLC
BOULDER, CO 80301

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email and delete this message.




           From: David Straite <dstraite@dicellolevitt.com>
           Date: Friday, May 13, 2022 at 9:44 PM
           To: Timothy Schmidt <timothy.schmidt@accelconsulting.llc>, Douglas Brush
           <douglas.brush@accelconsulting.llc>
           Cc: Lesley Weaver <lweaver@bfalaw.com>, Jay Barnes <jaybarnes@simmonsfirm.com>, Sharon Cruz
           <Scruz@dicellolevitt.com>, Adam Prom <aprom@dicellolevitt.com>, Corban Rhodes
           <crhodes@dicellolevitt.com>, 'ejohnson@simmonsfirm.com' <ejohnson@simmonsfirm.com>, Angelica
           Ornelas <aornelas@bfalaw.com>, An Truong atruong@simmonsfirm.com
           <atruong@simmonsfirm.com>, QE Calhoun <qecalhoun@quinnemanuel.com>
           Subject: Calhoun v. Google

           Dear Special Master Brush, Mr. Schmidt and Google counsel,

           Please see attached letter and Exhibits A, B and C thereto as separate PDFs, which we offer as an agenda for
           today’s call.

           Respectfully,

           David


                            David A. Straite, CIPP/US
                            DICELLO LEVITT GUTZLER

                            646.933.1000 ext 505




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